861 F.2d 266Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Lenard SMALL, Petitioner-Appellant,v.Michael E. BUMGARNER;  Attorney General of the State ofNorth Carolina, Respondents-Appellees.
    No. 88-6691.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 30, 1988.Decided:  Oct. 19, 1988.
    
      James Lenard Small, appellant pro se.
      Richard Norwood League (Office of the Attorney General of North Carolina), for appellees.
      Before DONALD RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      James Lenard Small seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Small v. Bumgarner, C/A No. 86-1045 (E.D.N.C. May 17, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    